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     Los Angeles, California 90067
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 5

 6

 7

 8                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 9

10
      GENEVIEVE MORTON, an                      COMPLAINT
11    individual,
12                Plaintiff

            v.                                  COPYRIGHT INFRINGEMENT
13

14    KYLE SCHULDT, an individual; et.          17 U.S.C. § 106
15    al.; Does 1-10,

16                        Defendants.           JURY TRIAL DEMANDED
17

18

19

20

21   Plaintiff, Genevieve Morton (“Morton”) by and through her undersigned attorney,

22   hereby prays to this honorable Court for relief based on the following:

23
                               JURISDICTION AND VENUE
24

25      1. This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101 et

26         seq.

27      2. This Court has federal question jurisdiction under 28 U.S.C. § 1331 and 1338

28
           (a) and (b).
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 1      3. Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and
 2         1400(a) in that this is the judicial district in which a substantial part of the
 3         acts and omissions giving rise to the claims occurred as the material was
 4         displayed and distributed in Los Angeles, California.
 5
                                           PARTIES
 6

 7      4. Morton is an individual citizen of South Africa and a Permanent Resident of
 8         the United States residing in Williamson County, Tennessee.
 9      5. Plaintiff is informed and believes and thereon alleges that Defendant Schuldt
10         (“SCHULDT”) is an individual residing in Delaware.

11      6. Defendants DOES 1 through 10, inclusive, are other parties not yet identified

12
           who have infringed Plaintiff’s copyrights, have contributed to the
           infringement of Plaintiff’s copyrights, or have engaged in one or more of the
13
           wrongful practices alleged herein. The true names, whether corporate,
14
           individual or otherwise, of Defendants 1 through 10, inclusive, are presently
15
           unknown to Plaintiff, who therefore sues said Defendants by such fictitious
16
           names, and will seek leave to amend this Complaint to show their true names
17
           and capacities when same have been ascertained.
18
        7. Plaintiff is informed and believes and thereon alleges that at all times
19
           relevant hereto each of the Defendants was the agent, affiliate, officer,
20
           director, manager, principal, alter-ego, and/or employee of the remaining
21
           Defendants and was at all times acting within the scope of such agency,
22
           affiliation, alter-ego relationship and/or employment; and actively
23         participated in or subsequently ratified and adopted, or both, each and all of
24         the acts or conduct alleged, with full knowledge of all the facts and
25         circumstances, including, but not limited to, full knowledge of each and
26         every violation of Plaintiff’s rights and the damages to Plaintiff proximately
27         caused thereby.
28
                                                 2
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 1             CLAIMS RELATED TO THE SUBJECT PHOTOGRAPH
 2
        8. Morton owns a certain photograph (“Subject Photograph”) that she published
 3
           in a limited edition 2016 calendar (“Calendar”). The Subject Photograph is
 4
           set forth in Exhibit A attached hereto.
 5
        9. Plaintiff has registered the Subject Photograph with the U.S. Copyright
 6
           Office and has complied with all necessary formalities. A true and correct
 7
           copy of Ms. Morton’s Certificate of Registration is attached as Exhibit B.
 8
        10. An unauthorized copy of the Subject Photograph appeared on or about
 9         December 21, 2021 at the URL
10         https://twitter.com/HollywoodConfid/status/1473383521523621892 in a
11         Tweet on Twitter.com under the account @HollywoodConfid which
12         displayed the Subject Photograph in a “windowpane” format alongside three
13         other photographs featuring Ms. Morton alongside the unauthorized use of
14         her name “Genevieve Morton” (“Subject Post”). The Subject Post was
15         “liked” 324 times and “retweeted” 32 times. The display in the windowpane
16         format is cropped, and only Ms. Morton’s breast appears in the display unless
17         and until a user engages with the image by clicking it. A true and correct
18         copy of a screenshot of the Subject Post is attached hereto as Exhibit C. A
19         true and correct copy of a screenshot of the expanded photograph is attached

20         hereto as Exhibit D.

21
        11. Pursuant to a DMCA 512 Subpoena, Twitter, Inc. revealed information
           regarding the @HollywoodConfid account sufficient to identify the account
22
           holder as the Defendant, SCHULDT.
23
        12. On information and belief, it is alleged that SCHULDT copied the Subject
24
           Photograph from the Calendar and then reproduced and displayed said work
25
           on the Twitter account using the account named @HollywoodConfid that has
26
           over 65,000 followers. SCHULDT at no time had Plaintiff’s consent to
27

28
                                               3
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 1         exploit her original work in this, or any other manner. In the account
 2         biography, SCHULDT admits, “I do not own these images.”
 3      13. According to Influencer Marketing Hub, the @HollywoodConfid Twitter
 4         account has an “engagement” rate of .062% and has an estimated earnings
 5         rate of $495-$825 per post. The Influencer Marketing Hub website defines

 6         engagement as including any “Likes, Retweets, Replies, @mentions,

 7         Follows, Profile clicks, Permalink clicks, Tweet expansion clicks, and Link
           clicks.” The website further explains “Brands are only interested in
 8
           sponsoring tweeters who build up a dominance with a particular interest
 9
           group that closely matches the buyers of the brand’s good or service.”
10
        14. Plaintiff is informed and believes and thereon alleges that Defendants, and
11
           each of them, copied, posted, hosted, displayed and distributed the Subject
12
           Photograph without Plaintiff’s permission.
13
14                             FIRST CLAIM FOR RELIEF
15
              (For Copyright Infringement – Against all Defendants, and Each)
16
17      15. Plaintiff repeats, re-alleges, and incorporates herein by reference as though
18         fully set forth, the allegations contained in the preceding paragraphs of this
19         Complaint.
20      16. Plaintiff is informed and believes and thereon alleges that Defendants, and
21         each of them, had access to the Subject Photograph and further alleges that
22         the identical nature of the copying establishes access.
23      17. Plaintiff is informed and believes and thereon alleges that Defendants, and
24         each of them, used and distributed images that were unauthorized copies of

25         the Subject Photograph and exploited said photograph online.

26      18. Plaintiff is informed and believes and thereon alleges that Defendants, and
           each of them, infringed Plaintiff’s copyrights by publishing and displaying
27
           the infringing material to the public, including without limitation, through its
28
                                                4
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 1         Twitter account @HollywoodConfid, created on November 20, 2013, Twitter
 2         account ID 2205256309, logged in from IP Address 72.45.57.42. The last
 3         four digits of telephone number associated with the account are 7951. The e-
 4         mail address associated with the account is
 5         HollywoodConfidential123@hotmail.com.

 6      19. Plaintiff is informed and believes and thereon alleges that Defendants, and

 7         each of them, infringed Plaintiff’s rights by copying, displaying and
           distributing the Subject Photograph without Plaintiff’s authorization or
 8
           consent.
 9
        20. Due to Defendants’, and each of their, acts of infringement, Plaintiff has
10
           suffered general and special damages in an amount to be established at trial.
11
        21. Due to Defendants’ acts of copyright infringement as alleged herein,
12
           Defendants, and each of them, have obtained direct and indirect profits they
13
           would not otherwise have realized but for their infringement of Plaintiff’s
14
           rights in the Subject Photograph. As such, Plaintiff is entitled to
15
           disgorgement of Defendants’ profits directly and indirectly attributable to
16
           Defendants’ infringement of Plaintiff’s rights in the Subject Photograph in an
17
           amount to be established at trial.
18      22. Plaintiff is informed and believes and thereon alleges that Defendants, and
19         each of them, have committed acts of copyright infringement, as alleged
20         above, which were willful, intentional and malicious, which further subjects
21         Defendants, and each of them, to liability for statutory damages under
22         Section 504(c)(2) of the Copyright Act in the sum of up to one hundred fifty
23         thousand dollars ($150,000.00) per infringement and/or a preclusion from
24         asserting certain equitable and other defenses. Each of the thirty-two
25         “retweets” resulted in at least one additional unauthorized copy. Each of the
26         324 “likes” indicates that the image was displayed without Plaintiff’s
27         authorization a minimum of 324 times.
28
                                                5
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 1                           SECOND CLAIM FOR RELIEF
 2
                (For Vicarious and/or Contributory Copyright Infringement –
 3
                              Against all Defendants, and Each)
 4
 5      23. Plaintiff repeats, re-alleges, and incorporates herein by reference as though
 6         fully set forth, the allegations contained in the preceding paragraphs of this
 7         Complaint.
 8      24. Plaintiff is informed and believes and thereon alleges that Defendants
 9         knowingly induced, participated in, aided and abetted in and profited from
10         the illegal reproduction and distribution of the Subject Photograph as alleged

11         hereinabove. Such conduct included, without limitation, publishing

12         photographs obtained from third parties that SCHULDT knew, or should

13
           have known, were not authorized to be published by SCHULDT.
        25. Defendants, and each of them, to liability for statutory damages under
14
           Section 504(c)(2) of the Copyright Act in the sum of up to one hundred fifty
15
           thousand dollars ($150,000.00) per infringement, injunctive relief and/or a
16
           preclusion from asserting certain equitable and other defenses.
17
18                                PRAYER FOR RELIEF
19
     Wherefore, Plaintiff prays for judgment as follows:
20
21   Against all Defendants, and Each, AND
22
23
     With Respect to Each Claim for Relief that:

24
        1. Defendants, and each of them, as well as their employees, agents, or anyone
25         acting in concert with them, be enjoined from infringing Plaintiff’s
26         copyrights in the Subject Photograph, including without limitation an order
27
28
                                                6
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 1         requiring Defendants, and each of them, to remove any content
 2         incorporating, in whole or in part, the Subject Photograph; and
 3      2. Plaintiff be awarded all profits of Defendants, and each of them, plus all
 4         losses of Plaintiff, plus any other monetary advantage gained by the
 5         Defendants, and each of them, through their infringement, the exact sum to

 6         be proven at the time of trial, and, to the extent available, statutory damages

 7         as available under the 17 U.S.C. § 504 and other applicable law; and
        3. a constructive trust be entered over any revenues or other proceeds realized
 8
           by Defendants, and each of them, through their infringement of Plaintiff’s
 9
           intellectual property rights; and
10
        4. Plaintiff be awarded her attorneys’ fees as available under the Copyright Act
11
           U.S.C. § 505 et seq.; and
12
        5. Plaintiff be awarded her costs and fees under the above statutes; and
13
        6. Plaintiff be awarded statutory and enhanced damages under the statutes set
14
           forth above; and
15
        7. Plaintiff be awarded pre-judgment interest as allowed by law; and
16
        8. Plaintiff be awarded the costs of this action; and
17
        9. Plaintiff be awarded such further legal and equitable relief as the Court
18         deems proper.
19
20      Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.

21      38 and the 7th Amendment to the United States Constitution.

22                                             Respectfully submitted,
23
     Dated: April 28, 2022
24
                                               By: /s/JENNIFER HOLLIDAY
25
26                                             JENNIFER HOLLIDAY, ESQ.
                                               Attorney for Plaintiff
27
28
                                                  7
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                      EXHIBIT A
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                       EXHIBIT B
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Certificate of Registration
                      This Certificate issued under the seal of the Copyright
                      Office in accordance with title 17, United States Code,
                      attests that registration has been made for the work
                      identified below. The information on this certificate has     Registration Number
                      been made a part of the Copyright Office records.
                                                                                    VA 2-211-724
                                                                                  . Effective Date of Registration:
                                                                                    July 28, 2020
                                                                                    Registration Decision Date:
                                                         opyrights and Director     July 29, 2020




  Copyright Registration for a Group of Published Photographs
  Registration issued pursuant to 37 C.F.R. § 202.4(i)      ,     .             ·
             For Photographs Published·: October 01, 2016, to October 31, ,2016

   Title


                       Title of Group:        Borneo 2016
      Number of Photographs in Group:         •14 -
                                                            \   ,
                                                                '
   Completion/Publication
                    Year of Completion:        2016 ·
     Earliest Publication Date in Group: .    Oc_;tober 01; 2016 _
      Latest Publicatipn Date in Group:       ,October 31, 2016
              Nation of First Publication:     United States




   Author

                       •          Author:     Genevieve Morton
                           Author Created:    photograph's
                                Citizen of:   Sou'th Africa
                             Domiciled in:    United States
                               Year Born:     'i 986.      -
   Copyright Claimant

                    Copyright Clai";'ant:     Genevieve Morton
                                              ?l 90 Sunset Blvd. # 1124, Los Angeles, CA


   Rights and Permissions

                                    Name:     Genevieve Mo1ton
                                    Email:    speaktogenevieve@genevievemorton.com
  Certification
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                           Name:                Genevieve Mort°-n
                            Date:               June 21, 2020



           Correspondence:                  Yes                   ,
      Copyright Office notes:               Regarding ti.tie in'fo~matjbn: Deposit contains complete list of titles that
                                            correspond to the'individual-photographs included in this group.
                                                                                      ·_       -\   -           .       '                  '
                                                                                                                                               '
                                          Regardfog .group r~gistrati~n: -A group of published photographs may be
                                          registered on _one,aJ?plication wjJh one filing fee only under limited
                                          cfrcums_tances: f\~L of\the following are required: , VA,11 photographs (a) were
                                          cr~ated by_the same author A'15iI) (b) ~re owned by the.same copyright claimant
                                         AND '(c) were publishe'd in the sall).e/calendar year }\.ND 2. The group contains
                                         /~5(:): photogtaphs .or'less _AND 3: A sequentially numbered'list of photographs
                                         contaln~nitthe ~1.tle,Jile name and month ,of publication foi: each photograph
                       -   '
                           ,   I
                                    - _ includ~d iri.th~ gr~mp inust be uploaded along witj-1 other required application
                                    - ,-;materials. TheJjst must be submitted in ·an approved,documyn,t format such as
                                         ~XI:;S 'or .PDF. -The file name for the numbered list must contain the title of the
                                        grovp and the Case Number assign{id to the application.             .
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                       EXHIBIT C
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                       EXHIBIT D
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